Case 2:25-cv-01574-CAS-AGR        Document 1   Filed 02/24/25    Page 1 of 33 Page ID
                                        #:1


        KJC LAW GROUP, A.P.C.
    1
        Kevin J. Cole (SBN 321555)
    2   W. Blair Castle (SBN 354085)
    3
        9701 Wilshire Blvd., Suite 1000
        Beverly Hills, CA 90212
    4   Telephone: (310) 861-7797
    5
        e-Mail: kevin@kjclawgroup.com

    6   Attorneys for Plaintiff
    7
        Anna Fischer

    8

    9                       UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11

   12   ANNA FISCHER, individually and          CASE NO.
        on behalf of all others similarly
   13   situated,
                                                CLASS        ACTION      COMPLAINT
   14         Plaintiff,                        FOR:
   15   v.
                                                      1. Violation    of    California’s
   16   COMFRT LLC, a Florida limited                    Unfair Competition Law, Cal.
        liability company; and DOES 1 to 10,
        inclusive,                                       Bus. & Prof. Code §§ 17200, et
   17
                                                         seq.;
   18         Defendants.                             2. Violation of California’s False
                                                         Advertising Law, Cal. Bus. &
   19
                                                         Prof. Code §§ 17500, et seq.;
   20                                                    and
                                                      3. Violation of the California
   21
                                                         Consumers Legal Remedies
   22                                                    Act, Cal. Civ. Code §§ 1750, et
                                                         seq.
   23

   24                                           Filed Concurrently:
   25
                                                      1. Plaintiff’s CLRA Venue
   26                                                    Affidavit
   27
                                                (JURY TRIAL DEMANDED)
   28

                                                -1-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR       Document 1      Filed 02/24/25   Page 2 of 33 Page ID
                                       #:2


    1         Plaintiff Anna Fischer (“Plaintiff”), individually and on behalf of all others
    2   similarly situated, complains and alleges as follows based on personal knowledge
    3   as to herself, on the investigation of her counsel, and on information and belief as
    4   to all other matters. Plaintiff believes that substantial evidentiary support will exist
    5   for the allegations set forth in this complaint, after a reasonable opportunity for
    6   discovery.
    7                                 NATURE OF ACTION
    8         1.     This class action aims to hold COMFRT LLC (“COMFRT”) liable
    9   for its unlawful, unfair, and fraudulent business practice of advertising fictitious
   10   prices and corresponding phantom discounts on nearly every product sold through
   11   its website (https://comfrt.com/). This practice of false reference pricing occurs
   12   when a retailer fabricates a fake regular, original, and/or former reference price,
   13   and then offers an item for sale at a deeply “discounted” price. The result is a
   14   sham price disparity that misleads consumers into believing they are receiving a
   15   good deal, thereby inducing them into making a purchase. Companies like
   16   COMFRT drastically benefit from employing a false reference pricing scheme and
   17   experience increased sales.
   18         2.     The California legislature prohibits this misleading practice. The law
   19   recognizes the reality that consumers often purchase merchandise marketed as
   20   being “on sale” purely because the proffered discount seemed too good to pass
   21   up. Accordingly, retailers, including COMFRT, have an incentive to lie to
   22   customers and advertise false sales. The resulting harm is tangible—the bargain
   23   hunter’s expectations about the product he or she purchased is that it has a higher
   24   perceived value, and she may not have purchased the product but for the false
   25   savings.
   26         3.     The advertised discounts are fictitious because the reference price
   27   does not represent a bona fide price at which COMFRT previously sold a
   28   substantial quantity of the merchandise for a reasonable period of time (or at all) as

                                                  -2-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR        Document 1   Filed 02/24/25   Page 3 of 33 Page ID
                                        #:3


    1   required by the Federal Trade Commission (“FTC”). In addition, the represented
    2   reference price was not the prevailing market retail price within the three months
    3   immediately preceding the publication of the advertised former reference price, as
    4   required by California law. The deception is magnified for these products because
    5   the representation of the false reference price leads consumers like Plaintiff to
    6   believe they are purchasing a product of substantially higher quality and that they
    7   are purchasing a product that was previously offered for sale at the significantly
    8   higher reference price.
    9         4.     Through its false and misleading marketing, advertising, and pricing
   10   scheme, COMFRT violated and continues to violate California law, which
   11   prohibits (1) advertising goods for sale as discounted from former prices that are
   12   false, and (2) misleading statements about the existence and amount of price
   13   reductions. Specifically, COMFRT violated and continues to violate: California’s
   14   Unfair Competition Law, Business & Professions Code §§ 17200, et seq. (the
   15   “UCL”); California’s False Advertising Law, Business & Professions Code §§
   16   17500, et seq. (the “FAL”); the California Consumers Legal Remedies Act,
   17   California Civil Code §§ 1750, et seq. (the “CLRA”); and the Federal Trade
   18   Commission Act (“FTCA”), 15 U.S.C. §§ 45, 52.
   19         5.     Plaintiff brings this action on behalf of herself and other similarly
   20   situated consumers who, like her, have purchased one or more products from
   21   COMFRT’s online store that were deceptively represented as discounted from false
   22   former reference prices in order to halt the dissemination of this false, misleading,
   23   and deceptive pricing scheme, to correct the false and misleading perception it has
   24   created in the minds of consumers, and to obtain redress for those who have
   25   purchased merchandise tainted by this deceptive pricing scheme. Plaintiff seeks
   26   damages, injunctive relief, and other appropriate relief as a result of COMFRT’s
   27   sales of merchandise offered at a false discount.
   28         6.     Finally, Plaintiff seeks reasonable attorneys’ fees pursuant to

                                                 -3-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR       Document 1     Filed 02/24/25   Page 4 of 33 Page ID
                                       #:4


    1   California Code of Civil Procedure § 1021.5, as this lawsuit seeks the enforcement
    2   of an important right affecting the public interest and satisfies the statutory
    3   requirements for an award of attorneys’ fees.
    4                                     THE PARTIES
    5         7.     Plaintiff Anna Fischer is a citizen of the State of California and
    6   resident of Los Angeles County. Plaintiff, in reliance on COMFRT’s false and
    7   deceptive pricing, purchased (i) a pair of “Signature Fit Sweatpants × 1 Bone / M”
    8   (for $49), and (ii) a “Signature Fit Hoodie × 1 Bone / M” on March 6, 2024, from
    9   COMFRT’s website (https://comfrt.com/), from her home in Los Angeles County
   10   (the “Products”). Plaintiff’s total purchase price was $125, which included shipping
   11   and taxes.
   12         8.     Plaintiff is informed and believes, and upon such information and
   13   belief alleges, that Defendant COMFRT LLC is a Florida limited liability
   14   company with its principal place of business in Miami, Florida.
   15         9.     Plaintiff does not know the true names or capacities of the persons
   16   or entities sued as DOES 1 to 10, inclusive, and therefore sues such Defendants by
   17   such fictitious names. Plaintiff is informed and believes, and upon such information
   18   and belief alleges, that each of the DOE Defendants is in some manner legally
   19   responsible for the damages suffered by Plaintiff and the Class members as
   20   alleged in this Complaint. Defendants shall together be referred to as “Defendants”
   21   or “COMFRT.”
   22                            JURISDICTION AND VENUE
   23         10.    This Court has subject matter jurisdiction over this action pursuant to
   24   the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total
   25   matter in controversy exceeds $5,000,000 and there are over 100 members of the
   26   proposed class. Further, at least one member of the proposed class is a citizen of a
   27   State within the United States and at least one defendant is the citizen or subject of
   28   a foreign state.

                                                 -4-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR        Document 1     Filed 02/24/25    Page 5 of 33 Page ID
                                        #:5


    1         11.    The Central District of California has specific personal jurisdiction
    2   over COMFRT. Specific jurisdiction over a non-resident defendant exists where:
    3   (1) “[t]he non-resident defendant . . . purposefully direct[s] [it]s activities or
    4   consummate[s] some transaction with the forum or resident thereof; or perform[s]
    5   some act by which [it] purposefully avails [it]self of the privilege of conducting
    6   activities in the forum, thereby invoking the benefits and protections of its laws;”
    7   (2) the claim is one that “arises out of or relates to” the defendant’s activities in the
    8   forum state; and (3) the exercise of jurisdiction comports with “fair play and
    9   substantial justice, i.e. it must be reasonable.” Schwarzenegger v. Fred Martin
   10   Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). The plaintiff need only establish the
   11   first two prongs, while it is the defendant’s burden to “present a compelling case”
   12   that the exercise of jurisdiction would not be reasonable. Id.
   13         12.    Purposeful Availment. Under the first prong of the three-part test,
   14   “purposeful availment” includes both purposeful availment and purposeful
   15   direction, which are two distinct concepts. Id. Where a case sounds in tort, as here,
   16   courts employ the purposeful direction test. Purposeful direction requires the
   17   defendant have “(1) committed an intentional act, (2) expressly aimed at the forum
   18   state, (3) causing harm that the defendant knows is likely to be suffered in the forum
   19   state.” Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017) (citing
   20   Schwarzenegger, 374 F.3d at 802). On information and belief, COMFRT regularly
   21   sells and ships its products to customers in California, including Plaintiff, who
   22   purchased her Products from Los Angeles County, California. In addition, because
   23   COMFRT does a substantial amount of business in California, it is knowingly
   24   employing a false reference pricing scheme directed at and harming California
   25   residents, including Plaintiff.
   26         13.    Claim Arising Out of Action in the Forum Prong. Under the second
   27   prong of the three-part specific jurisdiction test, personal jurisdiction exists where,
   28   as here, the claim “arises out of or relates to” the defendant’s activities in the forum

                                                   -5-

                                     CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR       Document 1     Filed 02/24/25    Page 6 of 33 Page ID
                                       #:6


    1   state. Courts in the Ninth Circuit use a “but for” test to determine whether the claim
    2   “arises out of” the nonresident’s forum-related activities. In other words, the test is
    3   satisfied if the plaintiff would not have suffered loss “but for” defendant’s
    4   activities. Ballard v. Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). Here, COMFRT’s
    5   contact with the forum—knowingly employing a false reference pricing scheme
    6   directed at California residents—is the basis of its violations of various false
    7   advertising statutes. But for COMFRT’s contact with the forum, Plaintiff (and the
    8   thousands of other individuals who purchased COMFRT’s deceptively advertised
    9   products) would not have suffered harm.
   10         14.    Venue. Venue is proper in the U.S. District Court for the Central
   11   District of California pursuant to 28 U.S.C. § 1391 because COMFRT:
   12                a)     is authorized to conduct business in this District and has
   13                       intentionally availed itself of the laws and markets within this
   14                       District;
   15                b)     does substantial business within this District;
   16                c)     is subject to personal jurisdiction in this District because it has
   17                       availed itself of the laws and markets within this District; and
   18                       the injury to Plaintiff occurred within this District.
   19                             GENERAL ALLEGATIONS
   20         15.    COMFRT, through its website, offers hoodies, sweatpants, blankets,
   21   and other clothing items. See https://comfrt.com/.
   22         16.    Unfortunately for consumers, though, COMFRT’s business model
   23   heavily relies on deceiving customers with fake sales. On a typical day, COMFRT
   24   prominently displays on its landing page some form of sale where all products or a
   25   select grouping of products are supposedly on sale or marked down. All or nearly
   26   all COMFRT products on the site are represented as being significantly marked
   27   down from a substantially higher original or reference price, which is prominently
   28   displayed to the customer as being the supposed original price (the “Reference

                                                  -6-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1    Filed 02/24/25   Page 7 of 33 Page ID
                                      #:7


    1   Price”), as shown in the following:
    2   See https://comfrt.com/ (images captured on February 23, 2025).
    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                               -7-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1    Filed 02/24/25   Page 8 of 33 Page ID
                                      #:8


    1         17.    By doing this, COMFRT conveys to customers that its clothing had
    2   previously sold in the recent past at the Reference Price, but is being sold to the
    3   customer at a substantial discount.
    4         18.    However, this Reference Price in the “sale” is almost always—if not
    5   always—a falsely inflated price because COMFRT rarely, if ever, sells its items at
    6   the Reference Price.
    7         19.    Instead, the COMFRT’s items are always the subject of a perpetual
    8   “sale” that renders the Reference Price meaningless.
    9         20.    COMFRT has been running these sales for some time as demonstrated
   10   from evidence captured on the “WayBack Machine,” an online tool that allows
   11   users to view screenshots of websites at particular points in time.            See
   12   https://archive.org/web/ (explaining how the WayBack Machine captures
   13   screenshots from websites created years ago, and allows users to see snapshots of
   14   websites it has navigated and archived at various time periods; the tool archives
   15   more than 150 billion web pages that have appeared since 1996, creating a digital
   16   footprint of everything that has appeared on any given website at various points in
   17   time); see also Marten Transport, LTD v. Platform Advertising, Inc., No. 14-2464-
   18   JWL, 2016 WL 1718862, at *2 (D. Kan. Apr. 29, 2016) (relying on the WayBack
   19   Machine as a source of competent evidence).
   20         21.    For example, COMFRT advertised the following sales on its website
   21   as demonstrated in the following screenshots:
   22   October 31, 2023 – “Winter Sale | Up To 50% OFF”
   23

   24

   25

   26

   27

   28

                                                -8-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1     Filed 02/24/25   Page 9 of 33 Page ID
                                      #:9


    1   January 11, 2024 – “Shop Our New Years Sale | Up To 60% OFF”
    2

    3

    4   April 18, 2024 – “Limited Stock Sale | Up To 60% OFF”
    5

    6

    7
        May 14, 2024 – “Mental Health Awareness Month| Up To 60% OFF”
    8

    9

   10

   11   June 11, 2024 – “Men’s Mental Health Month| Up To 60% OFF”

   12

   13

   14         22.    Currently, as of February 23, 2025, COMFRT advertises a “Winter
   15   Sale | Up To 60% OFF”—as shown in the screenshot below, COMFRT has
   16   advertised this same “60% OFF” sale since at least January 2024, if not earlier.
   17

   18
              23.    And so surely, where a Reference Price is included with an item, that
   19
        the Reference Price cannot be the prevailing market retail price within the
   20
        preceding three months because the items have perpetually been an sale and not
   21
        sold at the Reference Price.
   22
              24.    Indeed,                                                               the
   23

   24
        only purpose of the Reference Price is to mislead customers into believing that the
   25
        displayed Reference Price is an original, regular, or retail price at which COMFRT
   26
        usually sells the item or previously sold the item in the recent past. As a result,
   27
        COMFRT falsely conveys to customers that they are receiving a substantial
   28
        markdown or discount, when in reality, the alleged discount is false and fraudulent.
                                                -9-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR     Document 1 Filed 02/24/25       Page 10 of 33 Page ID
                                     #:10


    1         25.   On the individual product pages of all (or nearly all) COMFRT
    2   products offered on the site, COMFRT represents each product as being marked
    3   down and includes this representation beside a crossed-out fake Reference Price.
    4   For example, for a “Signature Fit Hoodie” (the exact Product Plaintiff purchased)
    5   being offered for $49, COMFRT displays the following (as of February 23, 2025):
    6                                       $120 $49
    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21   See https://comfrt.com/products/signature-fit-unisex-hoodie.
   22         26.   On information and belief, COMFRT has rarely, if ever, sold the
   23   Signature Fit Hoodie for $120, and certainly it has not in the three preceding
   24   months. These pricing and advertising practices reflecting high-pressure fake sales
   25   are patently deceptive. They are intended to mislead customers into believing that
   26   they are getting a bargain by buying products from COMFRT on sale and at a
   27   substantial and deep discount. The truth is that COMFRT rarely, if ever, sells any
   28   of its products at the Reference Price. The Reference Price is, therefore, an

                                               -10-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25        Page 11 of 33 Page ID
                                      #:11


    1   artificially inflated price. In turn, the advertised discounts are nothing more than
    2   phantom markdowns.
    3      A. Plaintiff’s Purchase of Falsely Advertised Items from COMFRT
    4         27.    Plaintiff fell victim to COMFRT’s false advertising and deceptive
    5   pricing practices. On or about March 6, 2024, Plaintiff visited COMFRT’s website
    6   to shop for clothing. Plaintiff visited the site from her home in Los Angeles County.
    7   Plaintiff browsed the site and observed that nearly every item offered had a
    8   Reference Price that was crossed out and a sale price. She found COMFRT’s
    9   “Signature Fit Sweatpants” and “Signature Fit Hoodie” and added them both to her
   10   shopping cart. The price of the Sweatpants was listed as: $75 $49. The price of the
   11   Hoodie was listed as $120 $69.
   12         28.    In other words, Plaintiff saw that COMFRT represented on the
   13   product-description page for the Products that they was supposedly on sale based
   14   on a markdown from a Reference Price. The Reference Price was displayed as a
   15   substantially higher price containing a strikethrough.
   16         29.    Plaintiff purchased the Products, but before doing so, relied on the
   17   representation that the products listed above had in fact been offered for sale, or
   18   previously sold, in the recent past at the stated Reference Price. Plaintiff believed
   19   the Products were being offered for a significant discount from the Reference Price.
   20   Plaintiff relied on COMFRT’s representation that the Products were truly on sale
   21   and being sold at a substantial markdown and discount, and thereby fell victim to
   22   the deception intended by COMFRT.
   23         30.    On information and belief, the Products that Plaintiff purchased were
   24   not substantially marked down or discounted, or at the very least, any discount she
   25   was receiving had been grossly exaggerated. That is because the Products that
   26   Plaintiff bought had never been offered on COMFRT’s website for any reasonably
   27   substantial period of time—if ever—at their full Reference Prices and because the
   28   products were always the subject of a perpetual sale (as advertised in the website

                                                -11-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 12 of 33 Page ID
                                      #:12


    1   banners). For at least the 90-day period prior to Plaintiff’s purchase (and likely for
    2   a longer period), COMFRT had not offered the Products at their Reference Prices.
    3         31.    On information and belief, the Reference Prices are fake prices used
    4   in COMFRT’s deceptive marketing scheme, which is clear from evidence captured
    5   on the WayBack Machine.
    6         32.    More specifically, as shown by the WayBack Machine’s screen
    7   capture of COMFRT’s website at various points in time, COMFRT has been
    8   employing a reference price scheme on nearly every product for at least the past
    9   seven months (i.e., falsely representing its products are heavily discounted). As
   10   just some examples of COMFRT’s false advertising scheme:
   11   April 22, 2024:
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                 -12-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR   Document 1 Filed 02/24/25   Page 13 of 33 Page ID
                                   #:13


    1   July 19, 2024:
    2

    3

    4

    5

    6

    7

    8

    9

   10

   11
        August 22, 2024:
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                           -13-

                                CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR    Document 1 Filed 02/24/25   Page 14 of 33 Page ID
                                    #:14


    1   September 23, 2024:
    2

    3

    4

    5

    6

    7

    8

    9

   10

   11
        October 2, 2024:
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                            -14-

                                 CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR     Document 1 Filed 02/24/25       Page 15 of 33 Page ID
                                     #:15


    1   November 12, 2024:
    2

    3

    4

    5

    6

    7

    8

    9

   10

   11
        December 11, 2024:
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22         33.   COMFRT knows that the Reference Prices are fake and artificially
   23   inflated and intentionally uses them in its deceptive pricing scheme on its website
   24   to increase sales and profits by misleading Plaintiff and members of the putative
   25   class to believe that they are buying products at a substantial discount. COMFRT
   26   thereby induces customers to buy products they never would have bought—or at
   27   the very least, to pay more for merchandise than they otherwise would have if
   28   COMFRT was simply being truthful about its “sales.”

                                               -15-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR     Document 1 Filed 02/24/25       Page 16 of 33 Page ID
                                     #:16


    1         34.    Therefore, Plaintiff would not have purchased the Product listed
    2   above, or at the very least, would not have paid as much as she did, had COMFRT
    3   been truthful. Plaintiff was persuaded to make her purchase only because of the
    4   fake sale based on COMFRT’s fake Reference Price scheme.                Plaintiff is
    5   susceptible to this recurring harm because she cannot be certain that COMFRT has
    6   corrected this deceptive pricing scheme, and she desires to shop at COMFRT’s
    7   online store in the future. Plaintiff does not have the resources on her own to
    8   determine whether COMFRT is complying with California law with respect to its
    9   pricing practices.
   10      B. Research Shows That the Use of Reference Price Advertising Schemes
   11         Similar to COMFRT’s Deceptive Pricing Scheme Influences Consumer
   12         Behavior and Affects Consumers’ Perceptions of a Product’s Value
   13         35.    The effectiveness of COMFRT’s deceitful pricing scheme is backed
   14   by longstanding scholarly research. In the seminal article entitled Comparative
   15   Price Advertising: Informative or Deceptive? (cited in Hinojos v. Kohl’s Corp.,
   16   718 F.3d 1098, 1106 (9th Cir. 2013)), Professors Dhruv Grewal and Larry D.
   17   Compeau write that, “[b]y creating an impression of savings, the presence of a
   18   higher reference price enhances subjects’ perceived value and willingness to buy
   19   the product.” Dhruv Grewal & Larry D. Compeau, Comparative Price Advertising:
   20   Informative or Deceptive?, 11 J. PUB. POL’Y & MKTG. 52, 55 (1992). Therefore,
   21   “empirical studies indicate that, as discount size increases, consumers’ perceptions
   22   of value and their willingness to buy the product increase, while their intention to
   23   search for a lower price decreases.” Id. at 56; see also ¶ 22, supra (using a
   24   Reference Price to allege a savings of $11,696). For this reason, the Ninth Circuit
   25   in Hinojos held that a plaintiff making a claim of deceptive pricing (strikingly
   26   similar to the claim at issue here) had standing to pursue his claim against the
   27   defendant retailer. In doing so, the Court observed that “[m]isinformation about a
   28   product’s ‘normal’ price is . . . significant to many consumers in the same way as

                                                -16-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25      Page 17 of 33 Page ID
                                      #:17


    1   a false product label would be.” Hinojos, 718 F.3d at 1106.
    2         36.    Professors Compeau and Grewal reached similar conclusions in a
    3   2002 article: “decades of research support the conclusion that advertised reference
    4   prices do indeed enhance consumers’ perceptions of the value of the deal.” Dhruv
    5   Grewal & Larry D. Compeau, Comparative Price Advertising: Believe It or Not,
    6   36 J. OF CONSUMER AFFAIRS 287 (2002). The professors also found that
    7   “[c]onsumers are influenced by comparison prices even when the stated reference
    8   prices are implausibly high.” Id.
    9         37.    In another scholarly publication, Professors Joan Lindsey-Mullikin
   10   and Ross D. Petty concluded that “[r]eference price ads strongly influence
   11   consumer perceptions of value . . . Consumers often make purchases not based on
   12   price but because a retailer assures them that a deal is a good bargain. This occurs
   13   when . . . the retailer highlights the relative savings compared with the prices of
   14   competitors.” Joan Lindsey-Mullikin & Ross D. Petty, Marketing Tactics
   15   Discouraging Price Search: Deception and Competition, 64 J. OF BUS. RESEARCH
   16   67 (2011).
   17         38.    Similarly, according to Professors Praveen K. Kopalle and Joan
   18   Lindsey-Mullikin, “research has shown that retailer-supplied reference prices
   19   clearly enhance buyers’ perceptions of value” and “have a significant impact on
   20   consumer purchasing decisions.” Praveen K. Kopalle & Joan Lindsey-Mullikin,
   21   The Impact of External Reference Price on Consumer Price Expectations, 79 J. OF
   22   RETAILING 225 (2003).
   23         39.    The results of a 1990 study by Professors Jerry B. Gotlieb and Cyndy
   24   Thomas Fitzgerald, came to the conclusion that “reference prices are important
   25   cues consumers use when making the decision concerning how much they are
   26   willing to pay for the product.” Jerry B. Gotlieb & Cyndy Thomas Fitzgerald, An
   27   Investigation into the Effects of Advertised Reference Prices on the Price
   28   Consumers Are Willing to Pay for the Product, 6 J. OF APP’D BUS. RES. 1 (1990).

                                                -17-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 18 of 33 Page ID
                                      #:18


    1   This study also concluded that “consumers are likely to be misled into a willingness
    2   to pay a higher price for a product simply because the product has a higher reference
    3   price.” Id.
    4          40.    The unmistakable inference to be drawn from this research and the
    5   Ninth Circuit’s opinion in Hinojos is that the deceptive advertising through the use
    6   of false reference pricing employed here by COMFRT is intended to, and does in
    7   fact, influence customer behavior—as it did Plaintiff’s purchasing decision here—
    8   by artificially inflating customer perceptions of a given item’s value and causing
    9   customers to spend money they otherwise would not have, purchase items they
   10   otherwise would not have, and/or spend more money for a product than they
   11   otherwise would have absent the deceptive advertising.
   12                          CLASS ACTION ALLEGATIONS
   13          41.    Plaintiff brings this action on behalf of herself and all persons
   14   similarly situated pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of
   15   Civil Procedure and seeks certification of the following class:
   16          All persons in the United States who purchased one or more of
   17          COMFRT’s products from COMFRT’s website between January 1,
   18          2022, through the present (the “Class Period”) at a discount from a
   19          higher reference price and who have not received a refund or credit
   20          for their purchase(s).
   21          42.    The above-described class of persons shall hereafter be referred to as
   22   the “Class.” Excluded from the Class are any and all past or present officers,
   23   directors, or employees of Defendants, any judge who presides over this action,
   24   and any partner or employee of Class Counsel. Plaintiff reserves the right to
   25   expand, limit, modify, or amend this class definition, including the addition of one
   26   or more subclasses, in connection with her motion for class certification, or at any
   27   other time, based upon, inter alia, changing circumstances and/or new facts
   28   obtained during discovery.

                                                -18-

                                     CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR       Document 1 Filed 02/24/25        Page 19 of 33 Page ID
                                       #:19


    1         43.    In the alternative, Plaintiff seeks certification of the following class
    2   pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure:
    3         All persons in the State of California who purchased one or more of
    4         COMFRT’s products from COMFRT’s website between January 1,
    5         2022, through the present (the “Class Period”) at a discount from a
    6         higher reference price and who have not received a refund or credit
    7         for their purchase(s).
    8         44.    Numerosity. The Class is so numerous that joinder of all members in
    9   one action is impracticable. The exact number and identities of the members of the
   10   Class is unknown to Plaintiff at this time and can only be ascertained through
   11   appropriate discovery, but on information and belief, Plaintiff alleges that there are
   12   thousands of members of the Class. The precise number of Class members is
   13   unknown to Plaintiff.
   14         45.    Typicality. Plaintiff’s claims are typical of those of other members of
   15   the Class, all of whom have suffered similar harm due to Defendants’ course of
   16   conduct as described in this Complaint. All Class members have been deceived (or
   17   were likely to be deceived) by COMFRT’s false and deceptive price advertising
   18   scheme, as alleged in this Complaint. Plaintiff is advancing the same claims and
   19   legal theories on behalf of herself and all Class members.
   20         46.    Adequacy of Representation. Plaintiff is an adequate representative
   21   of the Class and will fairly and adequately protect the interests of the Class. Plaintiff
   22   has retained attorneys who are experienced in the handling of complex litigation
   23   and class actions, and Plaintiff and her counsel intend to prosecute this action
   24   vigorously. Plaintiff has no antagonistic or adverse interests to those of the Class.
   25         47.    Existence and Predominance of Common Questions of Law or
   26   Fact. Common questions of law and fact exist as to all members of the Class that
   27   predominate over any questions affecting only individual members of the Class.
   28   These common legal and factual questions, which do not vary among members of

                                                  -19-

                                     CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR        Document 1 Filed 02/24/25        Page 20 of 33 Page ID
                                        #:20


    1   the Class, and which may be determined without reference to the individual
    2   circumstances of any member of the Class, include, but are not limited to, the
    3   following:
    4                a)   Whether, during the Class Period, Defendants advertised false
    5                     Reference Prices on products offered on their website.
    6                b)   Whether, during the Class Period, Defendants advertised price
    7                     discounts from false Reference Prices on products offered on their
    8                     website.
    9                c)   Whether the products listed on Defendants’ website during the
   10                     Class Period were offered at their Reference Prices for any
   11                     reasonably substantial period of time prior to being offered at prices
   12                     that were discounted from their Reference Prices.
   13                d)   Does Defendants’ deceptive pricing scheme using false Reference
   14                     Prices constitute an “unlawful,” “unfair,” or “fraudulent” business
   15                     practice in violation of the California Unfair Competition Law, Cal.
   16                     Bus & Prof. Code §§ 17200, et seq.?
   17                e)   Does Defendants’ deceptive pricing scheme using false Reference
   18                     Prices constitute “unfair, deceptive, untrue or misleading
   19                     advertising” in violation of the California Unfair Competition Law,
   20                     Cal. Bus & Prof. Code §§ 17200, et seq.?
   21                f)   Does Defendants’ deceptive pricing scheme using false Reference
   22                     Prices constitute false advertising in violation of the California
   23                     False Advertising Law under Business & Professions Code §§
   24                     17500, et seq.?
   25                g)   Whether Defendants’ false Reference Prices on products offered on
   26                     their website during the Class Period are false representations.
   27                h)   Whether and when Defendants learned that false Reference Prices
   28                     on products offered on their website during the Class Period are

                                                   -20-

                                      CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR          Document 1 Filed 02/24/25       Page 21 of 33 Page ID
                                          #:21


    1                      false representations.
    2               i)     Whether Defendants had a duty to disclose to their customers that
    3                      the Reference prices were fake “original” prices in furtherance of
    4                      sham sales.
    5               j)     To what extent did Defendants’ conduct cause, and continue to
    6                      cause, harm to the Class?
    7               k)     Whether the members of the Class are entitled to damages and/or
    8                      restitution.
    9               l)     What type of injunctive relief is appropriate and necessary to enjoin
   10                      Defendants from continuing to engage in false or misleading
   11                      advertising?
   12               m) Whether Defendants’ conduct was undertaken with conscious
   13                      disregard of the rights of the members of the Class and was done
   14                      with fraud, oppression, and/or malice.
   15         48.        Superiority. A class action is superior to other available methods for
   16   the fair and efficient adjudication of this controversy because individual litigation
   17   of the claims of all members of the Class is impracticable. Requiring each
   18   individual class member to file an individual lawsuit would unreasonably consume
   19   the amounts that may be recovered. Even if every member of the Class could afford
   20   individual litigation, the adjudication of at least thousands of identical claims
   21   would be unduly burdensome to the courts. Individualized litigation would also
   22   present the potential for varying, inconsistent, or contradictory judgments and
   23   would magnify the delay and expense to all parties and to the court system resulting
   24   from multiple trials of the same factual issues.
   25         49.        By contrast, the conduct of this action as a class action, with respect
   26   to some or all of the issues presented, presents no management difficulties,
   27   conserves the resources of the parties and of the court system, and protects the
   28   rights of the members of the Class. Plaintiff anticipates no difficulty in the

                                                    -21-

                                          CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR         Document 1 Filed 02/24/25       Page 22 of 33 Page ID
                                         #:22


    1   management of this action as a class action. The prosecution of separate actions by
    2   individual members of the Class may create a risk of adjudications with respect to
    3   them that would, as a practical matter, be dispositive of the interests of the other
    4   members of the Class who are not parties to such adjudications, or that would
    5   substantially impair or impede the ability of such non-party Class members to
    6   protect their interests.
    7          50.    Ascertainability. Upon information and belief, Defendants keep
    8   extensive computerized records of their sales and customers through, among other
    9   things, databases storing customer orders, customer order histories, customer
   10   profiles, customer loyalty programs, and general marketing programs. Defendants
   11   have one or more databases through which a significant majority of members of
   12   the Class may be identified and ascertained, and they maintain contact information,
   13   including email addresses and home addresses (such as billing, mailing, and
   14   shipping addresses), through which notice of this action is capable of being
   15   disseminated in accordance with due process requirements.
   16          51.    The California Class also satisfies each of the class action
   17   requirements set forth above. The allegations set forth above with regards to the
   18   Class, therefore, apply equally to the California Class.
   19                                  CLAIMS FOR RELIEF
   20                                   First Cause of Action
   21                  Violation of California’s Unfair Competition Law,
   22                         Cal. Bus. & Prof. Code §§ 17200, et seq.
   23        (By Plaintiff Against Defendants on Behalf of Herself and the Class)
   24          52.    Plaintiff repeats and re-alleges the allegations contained in every
   25   preceding paragraph as if fully set forth herein.
   26          53.    California Business and Professions Code §§ 17200 et seq., also
   27   known as the California Unfair Competition Law (“UCL”), prohibits acts of “unfair
   28   competition,” including any “unlawful, unfair or fraudulent business act or

                                                 -22-

                                      CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25         Page 23 of 33 Page ID
                                      #:23


    1   practice” as well as “unfair, deceptive, untrue or misleading advertising.” Cal. Bus.
    2   & Prof. Code § 17200.
    3         54.    The UCL imposes strict liability. Plaintiff need not prove that
    4   COMFRT intentionally or negligently engaged in unlawful, unfair, or fraudulent
    5   business practices—but only that such practices occurred.
    6         “Unlawful” Actions
    7         55.    A cause of action may be brought under the “unlawful” prong of the
    8   UCL if a practice violates another law. Such an action borrows violations of other
    9   laws and treats these violations, when committed pursuant to business activity, as
   10   unlawful practices independently actionable under the UCL. The violation of any
   11   law constitutes an “unlawful” business practice under the UCL.
   12         56.    Here, by engaging in false advertising, as well as the false, deceptive,
   13   and misleading conduct alleged above, Defendants have engaged in unlawful
   14   business acts and practices in violation of the UCL, including violations of state
   15   and federal laws and regulations, such as 15 U.S.C. § 45(a)(1), 16 C.F.R. § 233.1,
   16   California Business & Professions Code sections 17500 and 17501, and California
   17   Civil Code sections 1770(a)(9) and 1770(a)(13).
   18         57.    The Federal Trade Commission Act (“FTCA”) prohibits “unfair or
   19   deceptive acts or practices in or affecting commerce[.]” 15 U.S.C. § 45(a)(1).
   20   Under FTC regulations, false former pricing schemes similar to the ones employed
   21   by Defendants, are deceptive practices that would violate the FTCA:
   22                One of the most commonly used forms of bargain advertising
   23                is to offer a reduction from the advertiser’s own former price
   24                for an article. If the former price is the actual, bona fide price at
   25                which the article was offered to the public on a regular basis for
   26                a reasonably substantial period of time, it provides a legitimate
   27                basis for the advertising of a price comparison. Where the
   28                former price is genuine, the bargain being advertised is a true

                                                  -23-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 24 of 33 Page ID
                                      #:24


    1                one. If, on the other hand, the former price being advertised
    2                is not bona fide but fictitious – for example, where an
    3                artificial, inflated price was established for the purpose of
    4                enabling the subsequent offer of a large reduction – the
    5                “bargain” being advertised is a false one; the purchaser is not
    6                receiving the unusual value he expects. In such a case, the
    7                “reduced” price is, in reality, probably just the seller’s regular
    8                price.
    9   16 C.F.R. §§ 233.1(a) (emphasis added).
   10         58.    Further, as detailed below in the Second Claim for Relief, Defendants’
   11   conduct also violates California’s false advertising laws. Specifically, California
   12   Business & Professions Code section 17500 provides, in relevant part, that it is
   13   unlawful for any corporation, with intent directly or indirectly to dispose of
   14   personal property, to make or disseminate in any “manner or means whatever,
   15   including over the Internet, any statement, concerning that . . . personal property .
   16   . . which is untrue or misleading, and which is known, or which by the exercise of
   17   reasonable care should be known, to be untrue or misleading[.]” Cal. Bus. & Prof.
   18   Code § 17500.
   19         59.    California law also expressly prohibits false former pricing schemes
   20   like the one employed by Defendants. California Business & Professions Code
   21   section 17501, entitled “Worth or value; statements as to former price,” states as
   22   follows:
   23         No price shall be advertised as a former price of any advertised thing,
   24         unless the alleged former price was the prevailing market price as
   25         above defined within three months next immediately preceding the
   26         publication of the advertisement or unless the date when the alleged
   27         former price did prevail is clearly, exactly and conspicuously stated in
   28         the advertisement.

                                                -24-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25           Page 25 of 33 Page ID
                                      #:25


    1   Cal. Bus. & Prof. Code § 17501.
    2         60.    Moreover, as detailed below in the Third Claim for Relief,
    3   Defendants’ conduct also violates the California Consumers Legal Remedies Act
    4   (“CLRA”). See Cal. Civ. Code §§ 1750, et seq. More specifically, Defendants
    5   violated the CLRA’s provisions prohibiting businesses from “[a]dvertising goods
    6   or services with intent not to sell them as advertised,” Cal. Civ. Code § 1770(a)(9),
    7   and “[m]aking false or misleading statements of fact concerning reasons for,
    8   existence of, or amounts of price reductions[.]” Cal. Civ. Code § 1770(a)(13).
    9         “Unfair” Actions
   10         61.    A business act or practice is “unfair” under the UCL if it offends an
   11   established public policy or is immoral, unethical, oppressive, unscrupulous or
   12   substantially injurious to consumers, and that unfairness is determined by weighing
   13   the reasons, justifications, and motives of the practice against the gravity of the
   14   harm to the alleged victims.
   15         62.    Here, Defendants’ actions constitute “unfair” business acts or
   16   practices because, as alleged above, Defendants engaged in a misleading and
   17   deceptive pricing scheme by advertising and representing false Reference Prices
   18   and thereby falsely advertising and representing markdowns or “discounts” that
   19   were false and inflated. Defendants’ deceptive marketing practice gave consumers
   20   the false impression that its products were regularly sold on the market for a
   21   substantially higher price in the recent past than they actually were and thus led to
   22   the false impression that Defendants’ products were worth more than they actually
   23   were. Defendants’ acts and practices therefore offended an established public
   24   policy, and they engaged in immoral, unethical, oppressive, and unscrupulous
   25   activities that are substantially injurious to consumers.
   26         63.    The harm to Plaintiff and members of the Class outweighs the utility
   27   of Defendants’ practices. There were reasonably available alternatives to further
   28   Defendants’ legitimate business interests, other than the misleading and deceptive

                                                 -25-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 26 of 33 Page ID
                                      #:26


    1   conduct described in this Complaint.
    2         “Fraudulent” Actions
    3         64.    A business act or practice is “fraudulent” within the meaning of the
    4   UCL if members of the public are likely to be deceived.
    5         65.    Here, members of the public are likely to be deceived by Defendants’
    6   conduct as alleged above. Among other things, Defendants affirmatively
    7   misrepresented the Reference Prices of their products, which thereby misled and
    8   deceived customers into believing that they were buying merchandise from
    9   Defendants at substantially marked-down and discounted prices. Defendants’
   10   deceptive marketing practice gave consumers the false impression that their
   11   products were regularly sold on the market for a substantially higher price in the
   12   recent past than they actually were and led to the false impression that Defendants’
   13   products were worth more than they actually were.
   14         66.    In addition, Defendants had a duty to disclose the truth about their
   15   pricing deception, including, among other things, that the Reference Prices
   16   advertised and published on their website were not, in fact, prices at which
   17   COMFRT’s products had sold for in the recent past for a reasonably substantial
   18   period of time, but that instead, in reality, Defendants’ products rarely (if ever)
   19   were offered at the advertised Reference Prices. Defendants, however, concealed
   20   this material information from customers and the general public. Members of the
   21   public, therefore, were also likely to be deceived by Defendants’ failure to disclose
   22   material information.
   23         67.    Because Defendants communicated the same misrepresentation to all
   24   class members—that COMFRT products were previously sold at various Reference
   25   Prices—the class is entitled to an inference of reliance. DZ Reserve v. Meta
   26   Platforms, Inc., --- F.4th ---, No. 22-15916, 2024 WL 1203886, at *8 (9th Cir. Mar.
   27   21, 2024).
   28         68.    Plaintiff and each member of the Class suffered an injury in fact and

                                                -26-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 27 of 33 Page ID
                                      #:27


    1   lost money or property as a result of Defendants’ unlawful, unfair, and/or
    2   fraudulent business practices, and as a result of Defendants’ unfair, deceptive,
    3   untrue or misleading advertising.
    4         69.    Plaintiff, on behalf of herself and the members of the Class, seeks
    5   disgorgement of all moneys received by Defendants through the conduct described
    6   above.
    7         70.    Plaintiff, on behalf of herself and the members of the Class, seeks a
    8   temporary, preliminary, and/or permanent injunction from this Court prohibiting
    9   Defendants from engaging in the patterns and practices described herein, including
   10   but not limited to, putting a stop to their deceptive advertisements and false
   11   Reference Prices in connection with their sale of COMFRT products on their
   12   website.
   13         71.    Injunctive relief is necessary to prevent future harm to consumers,
   14   including Plaintiff, who would like to purchase the products in the future. Every
   15   day, consumers like Plaintiff are misled into believing they are receiving a discount.
   16   Without injunctive relief, Defendants will continue to mislead consumers, and
   17   consumers will purchase products they otherwise would not have purchased
   18   because they will be unable to determine whether they are actually receiving a
   19   discount.
   20                                Second Cause of Action
   21                   Violation of California’s False Advertising Law
   22                       Cal. Bus. & Prof. Code §§ 17500, et seq.
   23        (By Plaintiff Against Defendants on Behalf of Herself and the Class)
   24         72.    Plaintiff repeats and re-alleges the allegations contained in every
   25   preceding paragraph as if fully set forth herein.
   26         73.    The California False Advertising Law, codified at California Business
   27   & Professions Code sections 17500, et seq. (the “FAL”) provides, in relevant part,
   28   that it is unlawful for any corporation, with intent directly or indirectly to dispose

                                                 -27-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 28 of 33 Page ID
                                      #:28


    1   of personal property, to make or disseminate in any “manner or means whatever,
    2   including over the Internet, any statement, concerning that . . . personal property .
    3   . . which is untrue or misleading, and which is known, or which by the exercise of
    4   reasonable care should be known, to be untrue or misleading[.]” Cal. Bus. & Prof.
    5   Code § 17500.
    6         74.    Similarly, the FAL provides, in relevant part, that “no price shall be
    7   advertised as a former price of any advertised thing, unless the alleged former price
    8   was the prevailing market price . . . within three months next immediately
    9   preceding the publication of the advertisement or unless the date when the alleged
   10   former price did prevail is clearly, exactly, and conspicuously stated in the
   11   advertisement.” Cal Bus. & Prof. Code § 17501.
   12         75.    Here, Defendants routinely disseminated on their website false
   13   Reference Prices for the products offered for sale on their website, including to
   14   Plaintiff. Such statements of Defendants were untrue, or at the very least, were
   15   misleading. Among other things, Defendants rarely, if ever, offered COMFRT’s
   16   products on their website at the Reference Prices displayed in connection with their
   17   products. Further, Defendants rarely, if ever, offered COMFRT’s products on their
   18   website at the Reference Prices within the three months immediately preceding the
   19   publication of the Reference Prices. Defendants therefore misled customers,
   20   including Plaintiff, into believing that the Reference Prices are, or were, genuine
   21   former prices and that the “sale” prices relative to the published Reference Prices,
   22   in fact, reflected real and substantial discounts. Defendants’ deceptive marketing
   23   practice gave consumers the false impression that their products were regularly sold
   24   for a substantially higher price in the recent past than they actually were and thus
   25   led to the false impression that Defendants’ products were worth more than they
   26   actually were.
   27         76.    Defendants engaged in this deceptive conduct with the intent to
   28   dispose of personal property—namely, with the intent to increase sales of

                                                -28-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 29 of 33 Page ID
                                      #:29


    1   COMFRT’s products offered by Defendants on their website and retail locations.
    2         77.    Defendants knew, or by the exercise of reasonable care should have
    3   known, that their dissemination of Reference Prices for COMFRT products sold on
    4   their website was untrue and/or misleading. Among other things, Defendants
    5   represented the Reference Prices in connection with COMFRT products sold on
    6   their website even though they knew, or in the exercise of reasonable care should
    7   have known, that such products had rarely, if ever, sold at the crossed-out
    8   Reference Prices.
    9         78.    As a direct and proximate result of Defendants’ misleading and false
   10   advertisements, Plaintiff and members of the Class have suffered injury in fact and
   11   have lost money. As such, Plaintiff requests that this Court order Defendants to
   12   restore this money to Plaintiff and all members of the Class, and to enjoin
   13   Defendants from continuing their false and misleading advertising practices in
   14   violation of California law in the future. Otherwise, Plaintiff, members of the Class,
   15   and the broader general public will be irreparably harmed and/or denied an
   16   effective and complete remedy.
   17                                 Third Cause of Action
   18            Violation of the California Consumers Legal Remedies Act,
   19                             Cal. Civ. Code §§ 1750, et seq.
   20        (By Plaintiff Against Defendants on Behalf of Herself and the Class)
   21         79.    Plaintiff repeats and re-alleges the allegations contained in every
   22   preceding paragraph as if fully set forth herein.
   23         80.    The Consumer Legal Remedies Act of 1970, Cal. Civ. Code §§ 1750,
   24   et seq. (the “CLRA”) is a California consumer protection statute which allows
   25   plaintiffs to bring private civil actions for “unfair methods of competition and
   26   unfair or deceptive acts or practices undertaken by any person in a transaction . . .
   27   which results in the sale or lease of goods or services to any consumer.” Cal. Civ.
   28   Code § 1770(a). The purposes of the CLRA are “to protect consumers against

                                                 -29-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR        Document 1 Filed 02/24/25       Page 30 of 33 Page ID
                                        #:30


    1   unfair and deceptive business practices and to provide efficient and economical
    2   procedures to secure such protection.” Cal. Civ. Code § 1760.
    3         81.      Plaintiff and each member of the Class are “consumers” as defined by
    4   California Civil Code section 1761(d). Defendants’ sale of COMFRT products on
    5   their website to Plaintiff and the Class were “transactions” within the meaning of
    6   California Civil Code section 1761(e). The products purchased by Plaintiff and the
    7   Class are “goods” within the meaning of California Civil Code section 1761(a).
    8         82.      Defendants violated and continue to violate the CLRA by engaging in
    9   the following practices prohibited by California Civil Code section 1770(a) in
   10   transactions with Plaintiff and the Class which were intended to result in, and did
   11   result in, the sale of COMFRT-branded products:
   12               (1) Advertising goods or services with the intent not to sell them as
   13                  advertised; and
   14               (2) Making false or misleading statements of fact concerning
   15                  reasons for, the existence of, or amounts of price reductions.
   16   Cal. Civ. Code §§ 1770(a)(9) & (13).
   17         83.      With regards to section 1770(a)(9), Defendants advertised and
   18   represented their branded products on their website with the “intent not to sell”
   19   them as advertised because, among other things the false Reference Prices
   20   advertised in connection with products offered on their website misled and continue
   21   to mislead customers into believing the merchandise was previously offered for
   22   sale and/or sold at the higher Reference Prices for some reasonably substantial
   23   period of time.
   24         84.      With regards to section 1770(a)(13), Defendants made false or
   25   misleading statements of fact concerning the “existence of” and the “amounts of
   26   price reductions” because, among other things no true price reductions existed—or
   27   at the very least, any price reductions were exaggerated—in that Defendants’
   28   products were rarely, if ever, previously offered for sale and/or sold at the higher

                                                  -30-

                                      CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25        Page 31 of 33 Page ID
                                      #:31


    1   Reference Prices for a reasonably substantial period of time.
    2          85.   As to this cause of action, at this time, Plaintiff seeks only injunctive
    3   relief at this time. Pursuant to Cal. Civ. Code § 1782, in conjunction with the filing
    4   of this action, Plaintiff’s counsel is notifying Defendants by separate letter of the
    5   particular violations of the CLRA and demanding that it correct or agree to correct
    6   the actions described in this Complaint. If Defendants fail to do so, Plaintiff shall
    7   amend her Complaint as of right (or otherwise seek leave to amend the Complaint)
    8   to include compensatory and monetary damages to which Plaintiff and the Class is
    9   entitled.
   10                                PRAYER FOR RELIEF
   11          WHEREFORE, Plaintiff Anna Fischer prays for relief and judgment in favor
   12   of herself and the Classes as follows:
   13    On the First Cause of Action for Violations of the Unfair Competition Law
   14                       (Cal. Bus. & Prof. Code §§ 17200, et seq.)
   15          A.    For an order certifying that the action be maintained as a class action,
   16   that Plaintiff be designated the class representative, and that undersigned counsel
   17   be designated as class counsel.
   18          B.    For an award of equitable and declaratory relief.
   19          C.    For pre- and post-judgment interest and costs of suit incurred herein.
   20          D.    For attorneys’ fees incurred herein pursuant to California Code of
   21   Civil Procedure section 1021.5, or to the extent otherwise permitted by law.
   22          E.    For such other and further relief as the Court may deem just and
   23   proper.
   24    On the Second Cause of Action for Violations of the False Advertising Law
   25                       (Cal. Bus. & Prof. Code §§ 17500, et seq.)
   26          A.    For an order certifying that the action be maintained as a class action,
   27   that Plaintiff be designated the class representative, and that undersigned counsel
   28   be designated as class counsel.

                                                 -31-

                                    CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR      Document 1 Filed 02/24/25       Page 32 of 33 Page ID
                                      #:32


    1         B.     For an injunction putting a stop to the deceptive and misleading
    2   conduct described herein and ordering Defendants to correct their deceptive and
    3   misleading advertising and pricing practices.
    4         C.     For an award of restitution and disgorgement of moneys paid that
    5   Defendants obtained as a result of their unfair, deceptive, untrue, and misleading
    6   advertising, all as described above.
    7         D.     For an award of equitable and declaratory relief.
    8         E.     For pre- and post-judgment interest and costs of suit incurred herein.
    9         F.     For attorneys’ fees incurred herein pursuant to California Code of
   10   Civil Procedure section 1021.5, or to the extent otherwise permitted by law.
   11         G.     For such other and further relief as the Court may deem just and
   12   proper.
   13        On the Third Cause of Action for Violations of the Consumer Legal
   14                    Remedies Act (Cal. Civ. Code §§ 1750, et seq.)
   15         A.     For an order certifying that the action be maintained as a class action,
   16   that Plaintiff be designated the class representative, and that undersigned counsel
   17   be designated as class counsel.
   18         B.     For an injunction putting a stop to the deceptive and misleading
   19   conduct described herein and ordering Defendants to correct their deceptive and
   20   misleading advertising and pricing practices.
   21         C.     For pre- and post-judgment interest and costs of suit incurred herein.
   22         D.     For attorneys’ fees incurred herein pursuant to California Civil Code
   23   section 1780, or to the extent otherwise permitted by law.
   24         E.     For such other and further relief as the Court may deem just and
   25   proper.
   26                            DEMAND FOR JURY TRIAL
   27         Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury
   28   pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.

                                                -32-

                                   CLASS ACTION COMPLAINT
Case 2:25-cv-01574-CAS-AGR   Document 1 Filed 02/24/25    Page 33 of 33 Page ID
                                   #:33


    1

    2   DATED: February 24, 2025             Respectfully submitted,
    3                                         KJC LAW GROUP, A.P.C.
    4                                         By: /s/ Kevin J. Cole
    5                                         Attorney for Plaintiff
                                              Anna Fischer
    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                           -33-

                                CLASS ACTION COMPLAINT
